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                    EXHIBIT H
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 1                        DECLARATION OF HANNAH P. FLAMM
 2
 3 I, Hannah P. Flamm, declare as follows:
 4
 5 1.      I am a resident of the State of New York and I am over the age of 18. I am an
 6 attorney licensed to practice law in the State of New York.
 7 2.      I execute this declaration based on my personal knowledge, except as to those
 8 matters based on information and belief, which I believe to be true. If called to testify in
 9 this case, I would testify competently about the following facts.
10 Experience Serving Youth in ORR Custody
11 3.      Since October of 2017, I have been an attorney at The Door’s Legal Services
12 Center (“The Door”), a legal service provider that works primarily with immigrant youth.
13 Since December 2019, I have been the Managing Attorney of The Door’s Legal Services
14 Center’s Detained Minors Project.
15 4.      Since December 2019, The Door has served unaccompanied children in the legal
16 custody of the Office of Refugee Resettlement (“ORR”) who have been placed by ORR
17 at The Children’s Village in New York, a program within the ORR network of care
18 providers, among other programs. Over the last 20 months, The Door has served
19 approximately 2,000 youth in ORR custody. Although the majority of these youth come
20 from Mexico, Honduras, Guatemala, and El Salvador, youth placed at these facilities may
21 come from all over the world.
22 5.      As the legal service provider for The Children’s Village, The Door’s attorneys and
23 staff maintain regular contact with the youth at the facilities. We provide ongoing
24 consultations and presentations concerning the legal rights of detained youth. We also
25 provide direct legal representation to youth who request it.
26 The Children’s Village
27 6.      The Children’s Village is responsible for the care and custody of unaccompanied
28 immigrant youth between the ages of 12 and 17. It is my understanding that The

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 1 Children’s Village is licensed to provide shelter-level care for up to 157 youth. The
 2 Children’s Village also operates a staff secure facility with, upon information and belief,
 3 the capacity to detain up to 28 youth. The current population of the shelter program is
 4 approximately 112 youth. The current population of the staff secure facility is
 5 approximately 5 youth. The current population of the therapeutic group home, with
 6 capacity for 12 youth, is 4.
 7 7.      Compared to shelter programs, staff secure facilities have more staff per youth,
 8 greater restrictions on youth’s privacy and liberty, and harsher disciplinary policies. In
 9 my experience, staff at The Children’s Village also use excessive force with youth in the
10 staff secure facility more frequently than in the shelter placement.
11 8.      To be transferred to a staff secure placement, ORR must justify the more restrictive
12 placement by identifying relevant, applicable criteria such as whether the transfer is
13 “necessary to ensure the welfare of the UAC or others” or whether the youth “is an
14 escape risk” or “has reported gang involvement or displays gang affiliation.” See Section
15 1.2.4 of the ORR Guide.
16 9.      Typically, youth are transferred to The Children’s Village staff secure facility after
17 weeks or months in other placements within ORR custody or, for internal apprehensions,
18 often after contact with law enforcement. For youth apprehended at the border, it is rare
19 that a youth would not have been in multiple placements or a secure facility prior to being
20 placed at The Children’s Village staff secure facility.
21 10.     The Children’s Village consists of a campus that includes approximately 32
22 residential buildings and 14 administrative buildings, including a school, medical facility,
23 administrative office, chapel, and daycare. This campus serves both youth in ORR
24 custody and “domestic” youth who are in the legal custody of the state of New York.
25 Step-ups from Fort Bliss Emergency Intake Site
26 11.     In May and June 2021, The Children’s Village’s staff secure facility received nine
27 youth who were stepped up directly from the Fort Bliss Emergency Intake Site (“Fort
28 Bliss”). In my interviews and interactions with our clients stepped up directly from Fort

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 1 Bliss to staff secure, and consistent with my colleagues’ interviews and interactions,
 2 many youth described feeling extreme desperation at Fort Bliss because of the lack of
 3 information and progress on their cases and because of the inhumane conditions in which
 4 they were detained in a tent with about 1,000 other youth. Youth stepped up from Fort
 5 Bliss describe a high level of awareness that no case manager was working on their cases
 6 to move them any closer to release from custody. They describe a degrading lack of
 7 privacy and the failure of staff to intervene to ensure their safety, intolerable heat, no
 8 meaningful education, observation of illness and injury among other youth, and inedible
 9 food.
10 12.     I have personally reviewed the complete ORR case files, as produced by ORR, of
11 each of these nine youth and find that the step-ups from Fort Bliss to The Children’s
12 Village staff secure facility have most commonly been tied to clients’ behavior resulting
13 from either (1) the conditions at Fort Bliss, including the heat, overcrowding, inedible
14 food, and lack of privacy or (2) the evident lack of case management leading some clients
15 to attempt to escape Fort Bliss or to harm themselves out of desperation and
16 hopelessness. A third category of step-ups appears to be linked to the inadequate staffing
17 and safety at Fort Bliss. Specifically, several clients were stepped up from Fort Bliss
18 based on misconstrued or unfounded allegations of violence or gang activity, sometimes
19 resulting from clients’ need to act in self-defense after staff failed to ensure a safe
20 environment.
21 13.     Four of our clients, A.C.C., J.A.A., J.B.H., and O.V.P.C., were stepped up to The
22 Children’s Village staff secure facility after attempting to escape from Fort Bliss.
23 However, according to their case files, which I have personally reviewed, none of these
24 youth presented any flight risk or other concerns while at The Children’s Village. I
25 believe their behavior at Fort Bliss (i.e., their attempt to run away) was a function of the
26 conditions and desperation they felt there.
27 14.     Two clients stepped up to The Children’s Village staff secure facility, C.A.R.G.
28 and E.M.B., evinced a desire or attempt to harm themselves at Fort Bliss (and one for

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 1 purported “defiant” behavior). C.A.R.G. was detained at Fort Bliss for approximately 12
 2 days despite having an extensive trauma and mental health history preceding his
 3 detention at Fort Bliss. He was diagnosed at The Children’s Village with significant
 4 mental health conditions. E.M.B., however, had no history of self-harm prior to his
 5 detention at Fort Bliss and evinced no mental health or behavioral concerns at The
 6 Children’s Village following his transfer out of Fort Bliss. This pattern reinforces my
 7 view that E.M.B.’s desire to harm himself at Fort Bliss resulted from the degrading
 8 conditions and his sense of hopelessness about being there.
 9 15.     Finally, three clients, N.M.M., M.L.M., and K.A.C.G., were stepped up for
10 purported violence or gang activity (and one for purported “unrespectful behavior toward
11 program’s clinician”). However, their ORR records corroborate that any act of alleged
12 violence was in fact an act of self-defense in circumstances where Fort Bliss staff
13 apparently failed to ensure youth were safe. The ORR records also corroborate that any
14 alleged gang activity was wholly unfounded, lacking any Significant Incident Reports or
15 even an informal notation by Fort Bliss staff describing any event, statement, or other
16 basis for the allegation.
17 16.     By comparison, even in the restrictive setting at The Children’s Village staff
18 secure, to my knowledge and based on my review of their ORR records, the youth in each
19 of these three categories of step-ups (excluding the one with a prior mental health history)
20 did not receive any Significant Incident Reports or evince even insignificant mental
21 health or behavioral concerns while at The Children’s Village. Instead, they received
22 notably positive clinical and case management notes, which are not typical of recent step-
23 ups (though they are of step-downs) in my experience. Based on my observations, client
24 interviews, and ORR records review, I believe this pattern is because children possess
25 hope and have no reason to act out when they perceive that adults are paying attention to
26 them, ensuring their most basic wellbeing, and are working on their reunification and
27 prompt release from custody.
28

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 1 Inhumane and Degrading Conditions at Fort Bliss Led to Feelings of Desperation and
 2 Behavior that ORR Used to Justify a Step-Up
 3 17.     In interviews that my colleagues and I conducted and upon my review of clients’
 4 ORR records, youths’ descriptions of atrocious food, overcrowding, the harsh physical
 5 environment, and a dehumanizing lack of privacy were pervasive and consistent. For
 6 some clients, these unbearable and humiliating conditions led to their attempt to escape
 7 Fort Bliss; for others, the conditions led to the desire or attempt to harm themselves.
 8 18.     For example, in The Children’s Village staff secure records of J.B.H, it is clear that
 9 he allegedly “attempted to leave [Fort Bliss] because it was too crowded, hot, and the
10 food was not good.” Exhibit 1, attached hereto as a true and correct copy of an excerpt of
11 J.B.H.’s The Children’s Village staff secure ORR Records at DOOR_JBH_0001. At The
12 Children’s Village staff secure, J.B.H. “acclimated well” and “did not report any
13 concerns indicative of a mental health condition.” Id. at DOOR_JBH_0002.
14 19.     In another instance, E.M.B., found conditions at Fort Bliss “overwhelming,” and
15 his detention there caused him to feel desperate and extremely sad. Exhibit 2, attached
16 hereto as a true and correct copy of an excerpt of E.M.B.’s ORR Records at
17 DOOR_EMB_0006. In particular, upon information and belief, E.M.B.’s lack of privacy
18 at Fort Bliss was deeply degrading and difficult for him to tolerate. Id. at
19 DOOR_EMB_0008. After being stepped-up to The Children’s Village staff secure,
20 E.M.B.’s contact with his family and case manager resulted in marked improvements in
21 his reported mental health and behavior. Id. at DOOR_EMB_0006-7.
22 Lack of Case Management and Fear of Indefinite Detention at Fort Bliss Led to Feelings
23 of Hopelessness and Behavior that ORR Used to Justify Step-Up
24 20.     For many youth, more devastating than the physical conditions at Fort Bliss was
25 the knowledge that their reunification with family was not moving forward. For some of
26 these clients, this realization and attendant hopelessness led to their attempt to escape
27 Fort Bliss; for others, it led to a desire or attempt to harm themselves.
28

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 1 21.     For example, one client, A.C.C., who was stepped up for his alleged attempt to
 2 escape Fort Bliss, reported to his Children’s Village clinician that he had never
 3 previously experienced suicidal ideation. But he reported that at Fort Bliss, for the first
 4 time in his life, he began to experience thoughts of self-harm because of his frustration
 5 that his case was not progressing and because he was not receiving information about his
 6 case. See Exhibit 3, attached hereto as a true and correct copy of an excerpt of A.C.C.’s
 7 ORR Records at DOOR_ACC_0001-2. One week after leaving Fort Bliss, his Children’s
 8 Village clinician reported that he was emotionally and mentally stable and had no mental
 9 health concerns. Id. at DOOR_ACC_0003. The Children’s Village staff reported that
10 A.C.C. exhibited no behavior or safety concerns during his entire placement there. Id.
11 22.     Another youth, O.V.P.C., who was stepped up due to an alleged attempt to escape,
12 reported to his Children’s Village clinicians that he was “feeling depressed and
13 desperate to be released” at Fort Bliss. Exhibit 4, attached hereto as a true and correct
14 copy of an excerpt of O.V.P.C.’s ORR Records at DOOR_OVPC_0002. However, there
15 were “no concerns” with O.V.P.C. after his admission to The Children’s Village. Id.
16 Inadequate Staffing and Supervision at Fort Bliss Led to Unsafe Conditions and
17 Misconstrued or Unfounded Allegations of Violence or Gang Activity
18 23.     Several clients were stepped up for purported violence or gang activity. However,
19 each of their ORR records demonstrates either that the alleged violence may instead have
20 been self-defense, apparently necessitated by staff failure to provide a safe environment
21 for all youth; or that there is no documented basis for the allegation of gang activity. In
22 fact, there is no documentation that the act itself perceived to be evidence of gang
23 activity—purportedly “recruiting” youth or exerting influence over others—actually
24 occurred.
25 24.     In one step-up purportedly on account of a physical altercation, The Children’s
26 Village staff secure case record reflects that the youth, N.M.M., acted to defend himself
27 from racist attacks by other youths. See Exhibit 5, attached hereto as a true and correct
28 copy of an excerpt of N.M.M.’s ORR Records at DOOR_NMM_0003-4 (describing his

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 1 sadness at being bullied for his skin color by another youth). As with all other step-ups
 2 based on alleged violence or attempts to escape, once he was transferred out of Fort Bliss,
 3 N.M.M. evinced no behavioral or safety concerns. To the contrary, N.M.M.’s clinical
 4 progress notes include comments such as, “The minor has been able to follow the
 5 program’s rules with no difficulties.” Id. at DOOR_NMM_0005-7. These records
 6 reinforce my understanding that the conditions at Fort Bliss—endangering and
 7 humiliating this client—triggered N.M.M.’s step-up.
 8 25.     The transfer notice for another client, M.L.M., indicates the step-up was on
 9 account of allegedly disruptive behavior in the form of a fight while playing cards. See
10 Exhibit 6, attached hereto as a true and correct copy of an excerpt of M.L.M.’s ORR
11 Records at DOOR_MLM_0002. However, within six days of being at The Children’s
12 Village, M.L.M. was found to have “maintained a cooperative attitude” and “reported
13 feeling emotionally and mentally stable.” Id. at DOOR_MLM_0003. There were no
14 reported mental or behavioral health concerns and his Children’s Village teacher
15 described him as “a pleasure to work with.” Id. at DOOR_MLM_0004.
16 26.     Another client, K.A.C.G., was stepped up purportedly on account of “concerns of
17 possible gang activity,” yet the ORR Notice of Placement itself notes that “no SIRs
18 (Significant Incident Reports) were recorded [sic] with such allegations.” Exhibit 7,
19 attached hereto as a true and correct copy of an excerpt of K.A.C.G.’s ORR Records at
20 DOOR_KACG_0002, 6. K.A.C.G. was informed that he was sent to staff secure because
21 of an attempt to run away, an allegation wholly unsupported by his ORR record. Contrary
22 to the allegation of “gang activity,” K.A.C.G. asserts he hardly spoke to anyone besides
23 his brother while at Fort Bliss. This youth’s case manager at The Children’s Village staff
24 secure recognized that he had no mental or behavioral health concerns, “acclimated
25 well,” “was very respectful,” and “followed all program rules.” Id. at
26 DOOR_KACG_0003-5.
27
28

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 1 Even Though Youth Are Desperate to Escape Fort Bliss and Typically Find Staff Secure
 2 Placement Far Preferable in Comparison, the Step-Up Nonetheless Prejudices their
 3 Custodial Cases
 4 27.     While most clients report feeling safer and less desperate at The Children’s Village
 5 staff secure facility compared to Fort Bliss, this perspective is a testament to how
 6 devastating the conditions at Fort Bliss are, rather than a reflection of the appropriateness
 7 of a staff secure placement. Step-up to a staff secure placement is harmful to youth
 8 because it is perceived as punishment, it is a more restrictive setting, and it often
 9 negatively impacts youths’ legal case. In my opinion, step-ups resulting from the extreme
10 desperation and hopelessness youth feel at Fort Bliss are fundamentally unfair.
11 28.     Step-ups are particularly concerning for youth who have no sponsor. In my
12 experience, a staff secure placement reduces the likelihood of the youth’s acceptance into
13 a long-term foster care (LTFC) placement. Staff secure placement history is often held
14 against youth as evidence they may not be appropriate to place in the least restrictive
15 setting of LTFC. Furthermore, in my experience, any potential acceptance into LTFC is
16 delayed by staff secure placement because youth must be stepped down to shelter level
17 from staff secure, after a 30-day placement review, to have a referral for LTFC
18 circulated. LTFC placement is discretionary, and there is no formal or standardized
19 opportunity in the LTFC referral process to clarify that a step-up to staff secure was
20 unwarranted.
21 Inadequate and Improper Documentation Prior to Step-Up at Fort Bliss
22 29.     Many records from Fort Bliss are incomplete or contain errors. For example, many
23 files I reviewed included records for unrelated youth, raising concerns of compliance
24 with ORR’s own documentation requirements, protection of confidentiality, adequate
25 legal and factual justifications for step-ups, among other concerns.
26
27
28

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 1 30.        In terms of confidentiality concerns, two of nine clients1 stepped up to The
 2 Children’s Village staff secure facility from Fort Bliss contained records of other
 3 individuals.
 4 31.        Many stepped-up clients’ records lack appropriate signatures. Six of nine stepped-
 5 up clients’ Notice of Placement in Secure or Staff Secure Facility lack a signature from
 6 the facility staff or witness and from the youth himself, with no corrected, signed versions
 7 in any file. See, e.g., Exhibit 2 at DOOR_EMB_0002; Exhibit 4 at DOOR_OVPC_0003;
 8 Exhibit 5 at DOOR_NMM_0001-2, 0008; Exhibit 6 at DOOR_MLM_0001-2, 0005-6;
 9 Exhibit 8 attached hereto as a true and correct copy of an excerpt of J.A.A.’s ORR
10 Records at DOOR_JAA_0002; Exhibit 9 attached hereto as a true and correct copy of an
11 excerpt of C.A.R.G’s ORR Records at DOOR_CARG_0001. Similarly, six of nine
12 stepped-up clients’ Placement Authorization forms in their Fort Bliss ORR records lack a
13 signature of an authorized representative of care provider, although most also contain a
14 completed version of the form in their Children’s Village Staff Secure ORR records. See
15 e.g., Exhibit 2 at DOOR_EMB_0001-5; Exhibit 4 at DOOR_OVPC_0001, 0003-4;
16 Exhibit 5 at DOOR_NMM_0001-2, 0008; Exhibit 6 at DOOR_MLM_0001-2, 0005-6;
17 Exhibit 8 at DOOR_JAA_0001-3.
18 32.        This list is not exhaustive but is demonstrative of my concerns regarding the legal
19 propriety and undue harm of the step-ups from Fort Bliss to The Children’s Village as
20 well as my concerns regarding inadequate notice to youth and inadequate documentation
21 to comply with federal regulations governing immigration custody of youth.
22 33.        Over the last several months I have learned of a deeply concerning pattern of
23 degrading and harmful conditions and treatment at the Fort Bliss facility. Based on my
24 interviews with my clients, my colleagues’ interviews, and my review of clients’ case
25 records, I have concluded that the conditions, staffing, and number of youth in custody at
26 Fort Bliss make it an inhumane and dangerous place for youth to be detained.
27
     1
      Despite multiple requests, I have not received the Fort Bliss ORR records for one of the nine step-ups and thus I do not
28   know what it may contain.

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                      EXHIBIT 1
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                    Division of Immigration Services
               Unidos por un Sueño/ United for one Dream
                         Clinical Progress Note

     UAC’s Name:
     DOB:
     UC #:
     Date of Admission: 5/06/2021
     Date: 5/07/2021

     Due to the Covid-19 quarantine restrictions, clinician facilitated a telephonic session. The
     minor reports he is a 14 year old male from Honduras. Clinician welcomed the minor to
     the program and explained her role as his assigned clinician. Clinician asked the risk
     assessment questions which the minor answered. The minor did not report any
     information indicative of a mental or behavioral concern. Clinician assessed a significant
     incident report submitted by the previous facility which stated the minor attempted to
     runaway. The minor shared how he and a few other minor attempted to leave the previous
     facility because it was too crowded, hot, and the food was not good. The minor’s feelings
     were validated. The minor stated that his intentions were not to disobey and do something
     bad. Clinician assessed how the minor feels in the current facility and he expressed
     feeling at home and stated not having any desire to run away. Clinician discussed the
     program’s rules and expectations which the minor said he understood and verbally agreed
     to. The minor did not report any concerns.




     .

     Signature: ________________________________________ Title: Bilingual Clinician




     Electronically signed by Catherine Medina on 5/10/2021 12:05:24 PM

                                                                                    DOOR_JBH_0001
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                         Division of Immigration Services
                    Unidos por un Sueño/ United for one Dream
                              Clinical Progress Note

     UAC’s Name:
     DOB:
     UC #:
     Date of Admission: 5/06/2021
     Date: 5/11/2021

     This writer met with the minor on the above referenced date. Due to the Covid-19
     quarantine restrictions, the initial clinical assessments were completed telephonically.
     The minor stated that in his home country he was living with his mother, his stepfather,
     and his younger sister. The minor shared he left Honduras on                 to be able to
     study, be able to one day work and reunifying with his maternal aunt who lives in San
     Francisco, California. The minor does not recall the last time he saw his aunt because she
     has been living in the United States for many years. The minor denied traveling with a
     coyote and said he traveled with a friend who is also in this facility. The minor shared
     family members chipped in to help him with money for the expenses of his trip. The
     minor shared he last attended school in 2018 and completed the 6th grade. Based on how
     the minor answered the questions, there are no sex or labor trafficking concerns. The
     minor denied any gang or cartel involvement; illicit drug and/or alcohol use; and
     problems with authorities. The minor denied any abuse or extortion during the journey or
     in his country. The minor stated he voluntarily surrendered to U.S. Border Patrol where
     he spent four days. The minor was then transferred to Ft. Bliss where he spent 2 days and
     was later transferred to the Unidos Por Un Sueno Program at the Children’s Village on
     05/06/2021. During the initial clinical assessment, the minor was oriented to all spheres
     and his affect was reactive and mood congruent. The minor denies presently or ever
     experiencing any suicidal ideations or desire to self-harm. The minor denies ever
     experiencing any homicidal ideations, auditory or visual hallucinations. Thus far the
     minor has acclimated well to the program; he is eating and sleeping well. The minor has
     been able to follow the program’s rules with no difficulties and reports that he feels safe
     here. The minor did not report any concerns indicative of a mental health condition.




     .
     Signature: ________________________________________ Title: Bilingual Clinician



     Electronically signed by Catherine Medina on 5/11/2021 3:01:31 PM

                                                                                    DOOR_JBH_0002
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                                    #:44395                     Expiration date: 03/31/2022



a. The care provider may provide information about the minor to the minor's educational program, medical, mental health,
dental and other service providers to the extent that the information is needed for the minor's education, recreation, social
development, medical, dental, or mental health treatment.
b. The care provider must give ORR and its designees, as directed by ORR, unrestricted free access to information about
the minor at all times.
c. All case file information maintained under grants or contracts with the Federal government are the property of the Federal
government and are fully accessible to ORR, or any of their duly authorized representatives, in accordance with applicable
federal law, regulations, OMB circulars, and ORR policies.

8. CONTACT WITH THE FAMILY
The care provider must permit the minor and the minor's family (as well as other individuals at ORR's discretion) to maintain
contact through direct visitation, telephone calls, mail, and gifts under the terms and conditions specified by applicable law,
regulations, and ORR policies.

9. SCHOOL PROGRAMS AND EXTRACURRICULAR ACTIVITIES
The care provider may authorize the minor to participate in routine school programs as well as social and extracurricular
activities that do not involve an unusual risk of injury to the minor unless otherwise specified by ORR.

10. REASON FOR PLACEMENT
An unaccompanied minor who meets the definition of an unaccompanied alien child, 6 U.S.C. 279(g)(2), and is in Federal
custody by reason of his or her immigration status.

11. TIME IN CARE
The care provider's care giving authority will terminate upon the minor's physical discharge from the care provider's custody.
The care provider will still have legal obligations for maintaining the minor's property if it is still in the care provider's custody
and case file as directed by ORR.

12. FINANCIAL
ORR agrees to provide financially for the care of said minor according to the financial agreement between ORR and care
provider or subsequent agreements agreed to by ORR and the care provider.

13. RESTRAINTS
The care provider must exhaust preventive, de-escalative and less restrictive techniques before it uses any type of restraint.
Should physical restraint be necessary for the safety of the minor or others, the care provider must use behavior intervention
techniques approved by ORR. All use of restraints must be justified and documented.




Signature - Authorized Representative of Care Provider                           Date                       Telephone Number


                                                                                  06/02/2021                 202-401-5709

 Signature - Official Representative                                             Date                       Telephone Number
 Office of Refugee Resettlement
 Administration for Children and Families
 U.S. Department of Health and Human Services




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hour per response, including the time for reviewing instructions, gathering and maintaining the data needed, and reviewing the collection of information.
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control number.
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                                    #:44397                     Expiration date: 03/31/2022



a. The care provider may provide information about the minor to the minor's educational program, medical, mental health,
dental and other service providers to the extent that the information is needed for the minor's education, recreation, social
development, medical, dental, or mental health treatment.
b. The care provider must give ORR and its designees, as directed by ORR, unrestricted free access to information about
the minor at all times.
c. All case file information maintained under grants or contracts with the Federal government are the property of the Federal
government and are fully accessible to ORR, or any of their duly authorized representatives, in accordance with applicable
federal law, regulations, OMB circulars, and ORR policies.

8. CONTACT WITH THE FAMILY
The care provider must permit the minor and the minor's family (as well as other individuals at ORR's discretion) to maintain
contact through direct visitation, telephone calls, mail, and gifts under the terms and conditions specified by applicable law,
regulations, and ORR policies.

9. SCHOOL PROGRAMS AND EXTRACURRICULAR ACTIVITIES
The care provider may authorize the minor to participate in routine school programs as well as social and extracurricular
activities that do not involve an unusual risk of injury to the minor unless otherwise specified by ORR.

10. REASON FOR PLACEMENT
An unaccompanied minor who meets the definition of an unaccompanied alien child, 6 U.S.C. 279(g)(2), and is in Federal
custody by reason of his or her immigration status.

11. TIME IN CARE
The care provider's care giving authority will terminate upon the minor's physical discharge from the care provider's custody.
The care provider will still have legal obligations for maintaining the minor's property if it is still in the care provider's custody
and case file as directed by ORR.

12. FINANCIAL
ORR agrees to provide financially for the care of said minor according to the financial agreement between ORR and care
provider or subsequent agreements agreed to by ORR and the care provider.

13. RESTRAINTS
The care provider must exhaust preventive, de-escalative and less restrictive techniques before it uses any type of restraint.
Should physical restraint be necessary for the safety of the minor or others, the care provider must use behavior intervention
techniques approved by ORR. All use of restraints must be justified and documented.




Signature - Authorized Representative of Care Provider                           Date                       Telephone Number


                                                                                  06/02/2021                 202-401-5709

 Signature - Official Representative                                             Date                       Telephone Number
 Office of Refugee Resettlement
 Administration for Children and Families
 U.S. Department of Health and Human Services




THE PAPERWORK REDUCTION ACT OF 1995 (Pub. L. 104.13) Public reporting burden for this collection of information is estimated to average .10/
hour per response, including the time for reviewing instructions, gathering and maintaining the data needed, and reviewing the collection of information.
An agency may not conduct or sponsor, and a person is not required to respond to, a collection of information unless it displays a currently valid OMB
control number.
                                                                                                                      DOOR_EMB_0003
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                                                                DOOR_EMB_0004
  Case 2:85-cv-04544-DMG-AGR Document 1161-12 Filed 08/09/21 Page  20 of 64 Page ID
                                                                OMB Control No: 0970-0554
                                    #:44399                     Expiration date: 03/31/2022



a. The care provider may provide information about the minor to the minor's educational program, medical, mental health,
dental and other service providers to the extent that the information is needed for the minor's education, recreation, social
development, medical, dental, or mental health treatment.
b. The care provider must give ORR and its designees, as directed by ORR, unrestricted free access to information about
the minor at all times.
c. All case file information maintained under grants or contracts with the Federal government are the property of the Federal
government and are fully accessible to ORR, or any of their duly authorized representatives, in accordance with applicable
federal law, regulations, OMB circulars, and ORR policies.

8. CONTACT WITH THE FAMILY
The care provider must permit the minor and the minor's family (as well as other individuals at ORR's discretion) to maintain
contact through direct visitation, telephone calls, mail, and gifts under the terms and conditions specified by applicable law,
regulations, and ORR policies.

9. SCHOOL PROGRAMS AND EXTRACURRICULAR ACTIVITIES
The care provider may authorize the minor to participate in routine school programs as well as social and extracurricular
activities that do not involve an unusual risk of injury to the minor unless otherwise specified by ORR.

10. REASON FOR PLACEMENT
An unaccompanied minor who meets the definition of an unaccompanied alien child, 6 U.S.C. 279(g)(2), and is in Federal
custody by reason of his or her immigration status.

11. TIME IN CARE
The care provider's care giving authority will terminate upon the minor's physical discharge from the care provider's custody.
The care provider will still have legal obligations for maintaining the minor's property if it is still in the care provider's custody
and case file as directed by ORR.

12. FINANCIAL
ORR agrees to provide financially for the care of said minor according to the financial agreement between ORR and care
provider or subsequent agreements agreed to by ORR and the care provider.

13. RESTRAINTS
The care provider must exhaust preventive, de-escalative and less restrictive techniques before it uses any type of restraint.
Should physical restraint be necessary for the safety of the minor or others, the care provider must use behavior intervention
techniques approved by ORR. All use of restraints must be justified and documented.




                                                                                 05/14/2021                 914-693-0600


Signature - Authorized Representative of Care Provider                           Date                       Telephone Number


                                                                                  05/14/2021                 202-401-5709

 Signature - Official Representative                                             Date                       Telephone Number
 Office of Refugee Resettlement
 Administration for Children and Families
 U.S. Department of Health and Human Services




THE PAPERWORK REDUCTION ACT OF 1995 (Pub. L. 104.13) Public reporting burden for this collection of information is estimated to average .10/
hour per response, including the time for reviewing instructions, gathering and maintaining the data needed, and reviewing the collection of information.
An agency may not conduct or sponsor, and a person is not required to respond to, a collection of information unless it displays a currently valid OMB
control number.
                                                                                                                      DOOR_EMB_0005
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List and describe any disclosed criminal activity: #:44400
CM is currently assessing and will provide updates in the Case Review
History of Incarceration:                               Crime                          Date             Length of Sentence                                      Location

Are there any parent/child relational issues?                                                     Yes    No
If yes, explain:
CM is currently assessing and will provide updates in the Case Review
Does the sponsor have an Order of Removal?                                                        Yes    No
If yes, date issued:

Has the sponsor sponsored any other UAC in DCS care?                                              Yes    No
Additional sponsor information:
CM is currently assessing and will provide updates in the Case Review

Sponsor Sponsored UACs:                             Name of UAC                               A Number                               Relationship                      Facility sponsored from


                                                                                      Mandatory TVPRA 2008

Based on the most recent trafficking screening, is the child a victim of a severe form of trafficking in persons? (Indicate ‘yes’ only
                                                                                                                                                          Yes    No
if ORR has issued a trafficking eligibility letter for UAC.)
Date eligibility letter issued:

Based on the most recent screening for disabilities, does the child have a disability as defined in section 3 of the Americans with
                                                                                                                                                         Yes     No
Disabilities Act of 1990, 42 U.S.C. § 12102(1)?
If yes, specify disability:

Based on the most recent screening, has the child been a victim of physical or sexual abuse under circumstances that indicate that
                                                                                                                                                         Yes     No
the child’s health or welfare has been significantly harmed or threatened?
If yes, provide a short summary:

Based on the sponsor risk assessment, does the sponsor clearly present a risk of abuse, maltreatment, exploitation, or trafficking
                                                                                                                                                         Yes     No
to the UAC?
If yes, provide a short summary:

                                                                                       Additional Information

Please input any additional information if needed:
Minor is a 17-year-old male from Nicaragua who traveled to the US

                                                                                                                  Note: Minor was transferred to the Children's Village Staff Secure Shelter
Program after a 16-day stay in Ft Bliss EIS Minor explained that at that site with the enormous amount of UCs to care for and tend to, it was overwhelming for him at times He would become
saddened and desperate however denies ever any thought or intent to self-harm or take his own life SIR Event           reports suicidal ideation however minor denies this explaining how he was
feeling at the time and why he may have been perceived as suicidal
                                                                                                                                                        Minor is acclimating well to the program He
feels more confident having been in contact with his uncle and CM following up on the status of his FRP process Minor ages out on          and worries he will be transferred to adult detention if not
released on time There are no significant mental health concerns noted or identified at this time



                                                                                             Certification

Signature:                                                                                          Date:                5/19/2021
                                                                                                    Print Name:          Yira Torres, LMSW
                                                                                                    Title:               Lead Clinician




                                                                                                                                                                DOOR_EMB_0006
    Case 2:85-cv-04544-DMG-AGR Document 1161-12 Filed 08/09/21 Page 22 of 64 Page ID
Legal screening completed? Yes No
                                      #:44401
Date:
Any possible legal relief                   Yes     No
identified?
Specify:                                 Minor will be screened by LSP- The Door and receive KYR CM will provide updates in the Case Review

                                                                                              Mental Health

Provide a short summary of the UAC’s current functioning:
Minor has been acclimating well to the program despite his current quarantine status as part of the COVID-19 protocol Minor is respectful towards staff and compliant with program rules/dynamics
He is looking forward to joining the other residents in the daily programming He is most focused on his desired reunification with his sponsor and starting a new life in the US before his upcoming 18th
birthday on          Lead CL shall focus continued sessions on preparing for release including but not limited to a discussion on the behavioral expectations of the minor once released to the community
given the reports of defiant behavior noted by previous placement There are no significant MH concerns noted at this time

5/24/21 - Lead CL conducted the Child Abuse & Neglect session and throughout the conversation discussed with minor his emotional responses to stress given his desire to succeed in the community
Minor explained that the circumstances that prefaced his arrival to SS contributed to his emotional state and that he feels confident that with the support of his uncle (sponsor) he will be able to handle
future upsets in a more appropriate manner Minor admits when provoked or perceived as disrespected, his emotions can take control however he attributes his positive traits to the education his
parents gave him and how important their continued support means to him He does not wish to disappoint them and therefore will be more mindful of his reaction to upset in the future No abuse
history was identified during the session Minor was fully understanding of the various forms of abuse and what to do in the event of any suspected maltreatment or abuse once released to his
sponsor’s care There are no significant mental health concerns noted or identified at this time
                                                                                        Psychological Evaluation
Date of
Evaluation:
Evaluator:
Axis I:
Axis II:
Axis III:
Axis IV:
Axis V:
Summary of Recommendations:

                                                                                                Trafficking
Who planned/organized your journey?
Minor migrated to the US on




What were you told about the arrangements before the journey?
Minor traveled by bus from Nicaragua to Guatemala then continued his journey to the Mexican/US border
Did the arrangements change during the journey?
                                                                                                                                                                                                   Yes No
If yes, how?

Does your family owe money to anyone for the journey?
                                                                                                                                                                                                   Yes No
If yes, how much?

Whom is the money owed?

Who is expected to pay?

What do you expect to happen if payment is not made?
Coercion Indicators
Did anyone threaten your or your family?
                                                                                                                                                                                                   Yes No
If yes, who made the threats?


Were you ever physically harmed?
                                                                                                                                                                                                   Yes No
If yes, how?

Was anyone around you ever physically harmed?
                                                                                                                                                                                                   Yes No
If yes, who?

Were you ever held against your will?
                                                                                                                                                                                                   Yes No
If yes, where?

Did anything bad happen to anyone else in this situation or anyone else who tried to leave?
                                                                                                                                                                                                   Yes No
                                                                                                                                                                  DOOR_EMB_0007
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    Did the incident take place at                         #:44402
                                   Yes No Care Provider Name:      -- Select Provider Name --
     another care provider facility?
                                                          Care Provider City:    -- Select Provider City --   Care Provider State:      -- Select Provider State --
    Location of Incident:          Housing Area           Date Reported To Care        5/6/2021                   Time Reported To             12:00 AM
                                                          Provider:                                               Care Provider:
    Other Specify:           Tent 8/17E                   Date Reported To             5/7/2021                   Time Reported To             10:26 PM
                                                          ORR:                                                    ORR:


      Description of Incident: (Full   MHC was called out to tent because UAC stated he was going to take his life UAC was visibly upset and crying uncontrollably
        Description of Incident)       He reported not being allowed to use the restroom with the door closed and became very upset because he was unaware of
                                       being on supervision, he said no one had told him; therefore when he went to use the restroom he didn't understand why he
                                       wasn't allowed to close the door This upset him to the point that he exclaimed out loud wanting to take his life After speaking
                                       with UAC he expressed not having a plan nor the desire to take his life
    Was the UAC or Anyone Else
                                           Yes       No                             Specify:
    Injured?:
                                                                            Actions Taken
    Staff Response and Intervention Clinician gathered information and educated UAC on being free of suicidal thoughts and attempts
      Follow-up and/or Resolution: Clinician and CM are to follow up with UAC
           Recommendations:         Clinician and CM will follow up with UAC for plan of action
                                                                                 Reporting:

                                                                                Date of
    Reported To State Licensing:          Yes     No                                                                             Time of Report:
                                                                                Report:
                                                             Date Notified the
                                                                                                                    Case/Confirmation
    Was the Incident Investigated?        Yes     No         Incident will be
                                                                                                                    Number:
                                                             investigated:
   Explain
   Results/Findings of
   Investigation:
    Attach Reports/Findings:

   Is CPS Different From State
                                          Yes     No
   Licensing:
    Reported To CPS:                      Yes     No                  Date of Report:                                           Time of Report:
                                                             Date Notified the
    Was the Incident Investigated?        Yes     No         Incident will be                                      Case/Confirmation Number:
                                                             investigated:
   Explain
   Results/Findings of
   Investigation:
    Attach Reports/Findings:

    Reported To Local Law
                                          Yes     No                  Date of Report:                                           Time of Report:
    Enforcement:
                                                                        Officer Name:                                           Officer Badge:
                                                             Date Notified the
    Was the Incident Investigated?        Yes     No         Incident will be                                      Case/Confirmation Number:
                                                             investigated:
   Explain
   Results/Findings of
   Investigation:
    Attach Reports/Findings:

                                                                            ORR Notifications:

                                                                                                                                               Telephone
                                                 Name              Agency/Title      Date Notified Time Notified                Email
                                                                                                                                                Number
                                       Daisy Amaral             ORR/FFS          5/7/2021             10:26 PM        Daisy Amaral@acf hhs gov
                                                                                                                                            2028230276
                                                                ORR/PO
                                                                Medical
                                                                Coordinator
                                                                Case Coordinator
                                                                CFS
                                       SIR Hotline              SIR Hotline      5/7/2021             10:26 PM        SIRHotline@acf hhs gov 2024015709
                                                                                                                      Maria fields@acf hhs gov
                                                                           Other Notifications:

   Is this an SIR for a Runaway?          Yes     No

                                                                                                                 Method of
                                             Title             Name       Date Notified Time Notified                                    Specify
                                                                                                                 Notification

                                                                                                                                               DOOR_EMB_0008
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    Did the incident take place at                         #:44403
                                   Yes No Care Provider Name:      -- Select Provider Name --
     another care provider facility?
                                                            Care Provider City:     -- Select Provider City --   Care Provider State:      -- Select Provider State --
    Location of Incident:          Housing Area             Date Reported To Care          5/4/2021                  Time Reported To             08:00 AM
                                                            Provider:                                                Care Provider:
    Other Specify:           Fort Bliss EIS                 Date Reported To               5/7/2021                  Time Reported To             07:42 AM
                                                            ORR:                                                     ORR:


      Description of Incident: (Full
        Description of Incident)                             UAC was defiant with staff

    Was the UAC or Anyone Else
                                              Yes      No                              Specify:
    Injured?:
                                                                                Actions Taken
    Staff Response and Intervention SIR filed
      Follow-up and/or Resolution:
           Recommendations:
                                                                                    Reporting:

                                                                                 Date of
    Reported To State Licensing:          Yes       No                                                                              Time of Report:
                                                                                 Report:
                                                                Date Notified the
                                                                                                                       Case/Confirmation
    Was the Incident Investigated?        Yes       No          Incident will be
                                                                                                                       Number:
                                                                investigated:
   Explain
   Results/Findings of
   Investigation:
    Attach Reports/Findings:

   Is CPS Different From State
                                          Yes        No
   Licensing:
    Reported To CPS:                      Yes       No                   Date of Report:                                           Time of Report:
                                                                Date Notified the
    Was the Incident Investigated?        Yes       No          Incident will be                                      Case/Confirmation Number:
                                                                investigated:
   Explain
   Results/Findings of
   Investigation:
    Attach Reports/Findings:

    Reported To Local Law
                                          Yes       No                   Date of Report:                                           Time of Report:
    Enforcement:
                                                                           Officer Name:                                           Officer Badge:
                                                                Date Notified the
    Was the Incident Investigated?        Yes       No          Incident will be                                      Case/Confirmation Number:
                                                                investigated:
   Explain
   Results/Findings of
   Investigation:
    Attach Reports/Findings:

                                                                               ORR Notifications:

                                                                                                                                                  Telephone
                                                    Name              Agency/Title        Date Notified Time Notified              Email
                                                                                                                                                   Number
                                       Daisy Amaral           ORR/FFS                   5/7/2021         07:52 AM        Daisy Amaral@acf hhs gov
                                                                                                                                               2028230276
                                       ORR Division of
                                                              ORR/PO                    5/7/2021         07:52 AM        UAC_DPL@acf hhs gov2027542087
                                       Planning and Logistics
                                                              Medical
                                                              Coordinator
                                                              Case Coordinator
                                                              CFS
                                       SIR Hotline            SIR Hotline               5/7/2021         07:52 AM        SIRHotline@acf hhs gov 2024015709
                                       Ft Bliss SIR Resource Ft Bliss SIR
                                                                                        5/7/2021         07:52 AM        FtBlissEIS_SIR@acf hhs0000000000
                                                                                                                                               gov
                                       Mailbox                Resource Mailbox
                                                                               Other Notifications:

   Is this an SIR for a Runaway?          Yes        No

                                                                                                                    Method of
                                               Title             Name        Date Notified Time Notified                                    Specify
                                                                                                                    Notification

                                                                                                                                                  DOOR_EMB_0009
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                      EXHIBIT 3
      Case 2:85-cv-04544-DMG-AGR Document 1161-12 Filed 08/09/21 Page 26 of 64 Page ID
List any Felony convictions:            #:44405
As per sponsor she has no criminal record.
List any Misdemeanor convictions:
As per sponsor she has no criminal record.
List any Probation/Parole:
As per sponsor she has no criminal record.
List and describe any disclosed criminal activity:
As per sponsor she has no criminal record.
History of Incarceration:                                Crime                          Date             Length of Sentence                                       Location

Are there any parent/child relational issues?                                                  Yes    No
If yes, explain:
As per sponsor UC lived with her mother she has been airing him since he was younger, sponsor and UC confirmed his mother passed away.
Does the sponsor have an Order of Removal?                                                     Yes    No
If yes, date issued:

Has the sponsor sponsored any other UAC in DCS care?                                           Yes    No
Additional sponsor information:


Sponsor Sponsored UACs:                             Name of UAC                                A Number                               Relationship                       Facility sponsored from


                                                                                       Mandatory TVPRA 2008

Based on the most recent trafficking screening, is the child a victim of a severe form of trafficking in persons? (Indicate ‘yes’ only
                                                                                                                                                           Yes     No
if ORR has issued a trafficking eligibility letter for UAC.)
Date eligibility letter issued:

Based on the most recent screening for disabilities, does the child have a disability as defined in section 3 of the Americans with
                                                                                                                                                           Yes     No
Disabilities Act of 1990, 42 U.S.C. § 12102(1)?
If yes, specify disability:

Based on the most recent screening, has the child been a victim of physical or sexual abuse under circumstances that indicate that
                                                                                                                                                           Yes     No
the child’s health or welfare has been significantly harmed or threatened?
If yes, provide a short summary:

Based on the sponsor risk assessment, does the sponsor clearly present a risk of abuse, maltreatment, exploitation, or trafficking
                                                                                                                                                           Yes     No
to the UAC?
If yes, provide a short summary:
CM will complete sponsor asmts.

                                                                                        Additional Information

Please input any additional information if needed:
Date: 5/06/21 Clinician made contact with minor to introduce Clinician’s role, establish rapport, and complete initial assessments. Minor is a 16 year- old Latino from Honduras. Minor arrived at
program on 5/06/21 and housed at McAlister, an all-male Staff Secure cottage. Minor denied any HX or current SI/HI, AH/VH, or delusions. Minor also denied any HX of substance abuse, or
criminal background. Minor reported he last attended school in the 6th grade and was unable to continue due to financial hardships. Minor reported he has worked since the age of 15 in construction
jobs, Monday –Saturday 6am-4pm. Minor denied any forced labor or trafficking concerns. (Although, minor denies current or past suicidal ideation, when asked about SIR’s in previous facility for SI
minor explained that he never had intentions to kill himself however that he did express thoughts of self-harm (hitting walls) due to frustrations over being in previous program, where according to him,
he was not receiving updates about his case). Clinician placed minor in special observation in current placement, to be removed within a week if he does not display behavioral or safety concerns.
Minor reported he lived with his maternal grandmother, and aunt and two younger siblings in a loving home, and denied any abuse or trauma. Minor sated his mother died a few years ago due to labor
complications. Minor reported no communication with his father since infancy. Minor stated he came to reunite with a maternal aunt in Atlanta, whom he communicated with frequently. Minor
reported he traveled alone, with no guide and denied being responsible for a debt. Minor also denied harm in transit. Focus will be placed on providing support to cope with separation form family,
adjusting to staff secure setting and identifying skills to increase/maintain prosocial behaviors, as well as work toward family reunification and safe release. Minor was psychoeducated on the Child
Abuse and Neglect form. ****



                                                                                              Certification

Signature:                                                                                           Date:                5/7/2021
                                                                                                     Print Name:          Bel Gueron, LMHC
                                                                                                     Title:               CL




                                                                                                                                                                 DOOR_ACC_0001
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Minor denied any HX or current SI/HI, AH/VH, or delusions. Minor also denied any HX of substance abuse, or criminal background. Minor reported he last attended school in the 6th grade and was unable to continue due to
financial hardships. Minor reported he has worked since the age of 15 in construction jobs, Monday –Saturday 6am-4pm. Minor denied any forced labor or trafficking concerns. (Although, minor denies current or past suicidal
ideation, when asked about SIR’s in previous facility for SI minor explained that he never had intentions to kill himself however that he did express thoughts of self-harm (hitting walls) due to frustrations over being in previous
program, where according to him, he was not receiving updates about his case). Clinician placed minor in special observation in current placement, to be removed within a week if he does not display behavioral or safety concerns.
Minor reported he lived with his maternal grandmother, and aunt and two younger siblings in a loving home, and denied any abuse or trauma. Minor sated his mother died a few years ago due to labor complications. Minor reported
no communication with his father since infancy.
Minor stated he came to reunite with a maternal aunt in Atlanta, whom he communicated with frequently. Minor reported he traveled alone, with no guide and denied being responsible for a debt. Minor also denied harm in transit.
Focus will be placed on providing support to cope with separation form family, adjusting to staff secure setting and identifying skills to increase/maintain prosocial behaviors, as well as work toward family reunification and safe
release.
Minor was psychoeducated on the Child Abuse and Neglect form. ****

5/20/21 Minor shared that he has been working fervently in maintaining good behavior despite other peers in the cottage disruptive behavior. Minors continues to utilize skills identified in clinical sessions to adhere to program
expectations. There have been no behavioral or metal health concerns in current placement despite previous SIRs, which have been processed with minor. Minor has been very honest about the reasons that led him to follow the
other boys in the plan to AWOL. His other two SIR for self-harm ideation, he also explained as "urge to hit the walls" out of frustration over lack of information on his case. Minor denied ever wanting to kills himself, and does not
exhibit safety concerns in current placement. Clinician and minor have identified healthy coping skills to manage frustrations and sudden changes and unmet personal expectations. Clinician has received positive feedback on his
behavior from residential team. Clinician held a family session with sponsor on 5/20/21 to process her awareness of SIRs and identify supports, and skills. Sponsor presented aware of minors difficulties at previous program, with
the permission of minor, clinician informed sponsor of his AWOL and self-harm SIR. Sponsor presented supportive and committed to his wellbeing and denied any previous history of emotional concerns or of self-harm acts.
Clinician emphasized importance of reaching out for mental health services in the events of any actual behavioral or safety concerns do manifest once released. 888
                                                                                                     Psychological Evaluation
Date of Evaluation:
Evaluator:             NA
Axis I:                NA
Axis II:               NA
Axis III:              NA
Axis IV:               AN
Axis V:                NA
Summary of Recommendations:


                                                                                                             Trafficking
Who planned/organized your journey?
Minor stated he came to reunite with a maternal aunt in Atlanta, whom he communicated with frequently. Minor reported he traveled alone, with no guide and denied being responsible for a debt. Minor also denied harm in transit.
What were you told about the arrangements before the journey?
NA
Did the arrangements change during the journey?
                                                                                                                                                                                                                              Yes No
If yes, how?
NA
Does your family owe money to anyone for the journey?
                                                                                                                                                                                                                              Yes No
If yes, how much?

Whom is the money owed?
NA
Who is expected to pay?
NA
What do you expect to happen if payment is not made?
NA
Coercion Indicators
Did anyone threaten your or your family?
                                                                                                                                                                                                                              Yes No
If yes, who made the threats?
NA
Were you ever physically harmed?
                                                                                                                                                                                                                              Yes No
If yes, how?
NA
Was anyone around you ever physically harmed?
                                                                                                                                                                                                                              Yes No
If yes, who?
NA
Were you ever held against your will?
                                                                                                                                                                                                                              Yes No
If yes, where?
NA
Did anything bad happen to anyone else in this situation or anyone else who tried to leave?
                                                                                                                                                                                                                              Yes No
What happened and to whom?
NA
Did anyone ever keep/destroy your documents?
                                                                                                                                                                                                                              Yes No
If yes, who and what?
NA
Did anyone ever threaten to report you to the police/immigration?
                                                                                                                                                                                                                              Yes No
If yes, who?

                                                                                                                                                                                      DOOR_ACC_0002
NA
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                                  #:44407




                         Division of Immigration Services
                              Unidos por un Sueño/United for a Dream
                                         US PROGRAM
                                      Clinical Progress Note
     UC’s Name:
     DOB:
     UC #:
     Date of Admission: 5/06/21

     Date: 5/14/21
     Clinician made contact with minor for a weekly individual session. His mood and affect

     were congruent. He reported being emotionally and mentally stable and her thought

     processes and content were coherent and goal directed. Minor denied any current SI/HI,

     AH/VH, or delusions. Clinician and minor reviewed information he provided during

     initial session including process clarifications of his SIRs and time in previous facility.

     Minor reported to be adjusting well to program and expressed motivation to adhere to

     expiations with the hopes of being reunified with sponsor soon. He expressed to be

     feeling safe and to get along well with program staff and residents. Clinician followed

     with residential staff who report minor has exhibited no behavior or safety concerns.

     Clinician and minor reviewed reunification process/plans. Clinician and minor focused

     the rest of the session on goals and acculturation process. At this time there are no metal

     health concerns.




     Signature: _______________________________________ Title: Bilingual Clinician
                          Jocabel Gueron LMHC




     Electronically signed by Jocabel Gueron LMHC                                      5/14/2021 4:50:13 PM
                                                                                      DOOR_ACC_0003
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                                  #:44408




                      EXHIBIT 4
  Case 2:85-cv-04544-DMG-AGR Document 1161-12 Filed 08/09/21 Page  30 of 64 Page ID
                                                                OMB Control No: 0970-0554
                                    #:44409                     Expiration date: 03/31/2022



a. The care provider may provide information about the minor to the minor's educational program, medical, mental health,
dental and other service providers to the extent that the information is needed for the minor's education, recreation, social
development, medical, dental, or mental health treatment.
b. The care provider must give ORR and its designees, as directed by ORR, unrestricted free access to information about
the minor at all times.
c. All case file information maintained under grants or contracts with the Federal government are the property of the Federal
government and are fully accessible to ORR, or any of their duly authorized representatives, in accordance with applicable
federal law, regulations, OMB circulars, and ORR policies.

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regulations, and ORR policies.

9. SCHOOL PROGRAMS AND EXTRACURRICULAR ACTIVITIES
The care provider may authorize the minor to participate in routine school programs as well as social and extracurricular
activities that do not involve an unusual risk of injury to the minor unless otherwise specified by ORR.

10. REASON FOR PLACEMENT
An unaccompanied minor who meets the definition of an unaccompanied alien child, 6 U.S.C. 279(g)(2), and is in Federal
custody by reason of his or her immigration status.

11. TIME IN CARE
The care provider's care giving authority will terminate upon the minor's physical discharge from the care provider's custody.
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and case file as directed by ORR.

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ORR agrees to provide financially for the care of said minor according to the financial agreement between ORR and care
provider or subsequent agreements agreed to by ORR and the care provider.

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The care provider must exhaust preventive, de-escalative and less restrictive techniques before it uses any type of restraint.
Should physical restraint be necessary for the safety of the minor or others, the care provider must use behavior intervention
techniques approved by ORR. All use of restraints must be justified and documented.




                                                                                 05/06/2021                 914-693-0600


Signature - Authorized Representative of Care Provider                           Date                       Telephone Number


                                                                                  05/06/2021                 202-401-5709

 Signature - Official Representative                                             Date                       Telephone Number
 Office of Refugee Resettlement
 Administration for Children and Families
 U.S. Department of Health and Human Services




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control number.
                                                                                                                    DOOR_OVPC_0001
                                                                                                                               Page 2 of 2
      Case 2:85-cv-04544-DMG-AGR Document 1161-12 Filed 08/09/21 Page 31 of 64 Page ID
List any Misdemeanor convictions:       #:44410
CM still assessing, update will be provided in the Case Review.
List any Probation/Parole:
CM still assessing, update will be provided in the Case Review.
List and describe any disclosed criminal activity:
CM still assessing, update will be provided in the Case Review.
History of Incarceration:                               Crime                          Date             Length of Sentence                                      Location

Are there any parent/child relational issues?                                                 Yes     No
If yes, explain:
CM still assessing, update will be provided in the Case Review.
Does the sponsor have an Order of Removal?                                                    Yes     No
If yes, date issued:

Has the sponsor sponsored any other UAC in DCS care?                                          Yes     No
Additional sponsor information:
CM still assessing, update will be provided in the Case Review.

Sponsor Sponsored UACs:                             Name of UAC                               A Number                               Relationship                      Facility sponsored from


                                                                                      Mandatory TVPRA 2008

Based on the most recent trafficking screening, is the child a victim of a severe form of trafficking in persons? (Indicate ‘yes’ only
                                                                                                                                                          Yes    No
if ORR has issued a trafficking eligibility letter for UAC.)
Date eligibility letter issued:

Based on the most recent screening for disabilities, does the child have a disability as defined in section 3 of the Americans with
                                                                                                                                                         Yes     No
Disabilities Act of 1990, 42 U.S.C. § 12102(1)?
If yes, specify disability:
Based on the most recent screening for disabilities, minor does NOT have a disability as defined in section 3 of the Americans with Disabilities Act of 1990, 42 U.S.C. § 12102(1).

Based on the most recent screening, has the child been a victim of physical or sexual abuse under circumstances that indicate that
                                                                                                                                                         Yes     No
the child’s health or welfare has been significantly harmed or threatened?
If yes, provide a short summary:
Minor denied ever being a victim of sexual or physical abuse and neglect in home country or throughout his journey to the United States.

Based on the sponsor risk assessment, does the sponsor clearly present a risk of abuse, maltreatment, exploitation, or trafficking
                                                                                                                                                         Yes     No
to the UAC?
If yes, provide a short summary:
Assigned case manager and clinician will continue to assess as minor was recently admitted to The Children's Village. However, no concerns have been noted at this time

                                                                                       Additional Information

Please input any additional information if needed:
Minor was recently admitted to the Children's Village on 5/6/21. As a safety precaution and per the most recent ORR guidelines, minor is currently in a mandatory 7-day quarantine while the program
team awaits his COVID results. Assigned clinician, Stephanie Rosado, LMSW, attempted to facilitate the assessment via video conference. However, due to technical difficulties the UAC and Risk
Assessment were conducted via phone. The assessment was conducted in Spanish as this is minor's primary language. Minor's tone of voice appeared stable and calm. Minor was oriented to person,
time, place and situation. His tone of voice was appropriate and congruent. He appeared forthcoming and cooperative in answering all questions. He denied having a history of physical, sexual or
verbal abuse in home country and throughout his journey to the United States. Minor denied having SI/HI, hallucinations and/or delusions. Minor denied history of drug abuse or involvement and/or
affiliations with gangs or cartels. He denied having past or criminal history. Minor does not appear to be a danger to self or others. Minor was remorseful when speaking of the AWOL incident in the
previous facility. Minor reported understanding that what he did was wrong. He stated feeling depressed and desperate to be released while in the previous program. Minor does not appear to be a
victim of trafficking or exploitation. No concerns were reported by minor or observed by the assigned clinician or case manager at this time. Minor is adjusting well to his new environment and getting
along with his peers and program staff. Minor is currently in a more restrictive setting due to his attempt to AWOL from previous ORR program. However, there have been no concerns since minor's
admission to The Children's Village. Clinician will continue to meet with minor for weekly clinical sessions and ensure minor's safety and wellbeing in the milieu and after discharge.



                                                                                             Certification

Signature:          Fernando Ramirez, B.A.                                                          Date:                5/11/2021
                                                                                                    Print Name:          Fernando Ramirez, B.A. / Stephanie Rosado,
                                                                                                                         LMSW
                                                                                                    Title:               Case Manager / Bilingual Clinician




                                                                                                                                                              DOOR_OVPC_0002
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                                         #:44411



                                                                                         ADMINISTRATION FOR CHILDREN AND FAMILIES
                                                                                                           370 L'Enfant Promenade, S.W.
U.S. Department of Health and Human Services                                                                     Washington, D.C. 20447


                                                    Office of Refugee Resettlement
                                                     Division of Children's Services
                                     NOTICE OF PLACEMENT IN SECURE OR STAFF SECURE FACILITY

 Minor's Name                 Alien #:         Date of Birth      Country of Birth          Facility Name                 Facility Type

                                                                Guatemala                   Ft. Bliss - EIS              Emergency Intake Sites



    This is to provide you NOTICE of the reasons for your placement in a secure or staff-secure facility. Your are in the care
    and custody of the Office of Refugee Resettlement/Division of Children's Services (ORR/DCS). ORR/DCS will not place
    a minor in a secure or staff-secure facility if there are less restrictive placement options available and appropriate.
    However, under certain conditions listed below, ORR/DCS may place minors in a secure or staff-secure facility.

    1. You are considered to be a flight risk.
    2. You have committed or threatened to commit a violent or malicious act toward yourself or other(s).
    3. You have been convicted of a crime as an adult.
    4. You have been adjudicated as a delinquent.
    5. You have engaged in serious, unacceptable disruptive behavior while in a licensed program.
    6. You are chargeable with a crime or delinquent offense.
    7. You are in criminal or delinquency proceedings.
    8. For your own safety.
    9. There is an emergency influx of minors into the United States and there are no alternative placement options at
       this time. ORR will place you in a shelter care facility as expeditiously as possible.

    If you have any questions or concerns regarding this placement, please discuss them with the facility case management
    staff and/or your attorney of record. Any minor who disagrees with the ORR/DCS decision may correspond directly with
    the ORR/ DCS Division Director. Additionally, the minor may seek judicial review in any United States District Court
    with jurisdiction and venue over the matter to challange the placement decision.



                                                                               05/20/2021
   __________________________________________                       _________________________
   ORR Director Signature                                             Date

   __________________________________________                       _________________________
   Facility Staff/Witness: Name/Signature/Position                    Date

   __________________________________________                       _________________________
   Minor's Signature/Name                                              Date

    CC: Minor
        ORR/DCS Facility File
        ORR/DCS Field Coordinator
        ORR/DCS


ORR/DCS Notice of Placement
Last Revised 2/1/05
                                                                                                               DOOR_OVPC_0003
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                                                                OMB Control No: 0970-0554
                                    #:44412                     Expiration date: 03/31/2022



a. The care provider may provide information about the minor to the minor's educational program, medical, mental health,
dental and other service providers to the extent that the information is needed for the minor's education, recreation, social
development, medical, dental, or mental health treatment.
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Signature - Authorized Representative of Care Provider                           Date                       Telephone Number


                                                                                  05/20/2021                 202-401-5709

 Signature - Official Representative                                             Date                       Telephone Number
 Office of Refugee Resettlement
 Administration for Children and Families
 U.S. Department of Health and Human Services




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                      EXHIBIT 5
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                                                                OMB Control No: 0970-0554
                                    #:44414                     Expiration date: 03/31/2022



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                                                                                   06/09/2021                914-693-0600

Signature - Authorized Representative of Care Provider                           Date                       Telephone Number


                                                                                  06/09/2021                 202-401-5709

 Signature - Official Representative                                             Date                       Telephone Number
 Office of Refugee Resettlement
 Administration for Children and Families
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                                  #:44416




                                                                DOOR_NMM_0003
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    Did the incident take place at                         #:44417
                                   Yes No Care Provider Name:      -- Select Provider Name --
     another care provider facility?
                                                        Care Provider City:       -- Select Provider City --      Care Provider State:   -- Select Provider State --
    Location of Incident:           Housing Area        Date Reported To Care            6/7/2021                     Time Reported To           11:00 PM
                                                        Provider:                                                     Care Provider:
    Other Specify:            Tent #8                   Date Reported To                 6/8/2021                     Time Reported To           01:59 AM
                                                        ORR:                                                          ORR:


                                                                        Description of Incident (History)

                                         Prior Text                                                 Date Updated                              Submitted By
    Minor was brought in by Tent Senior Lead after minor punched his tent peer.
    Senior Lead Zeus Chavira reports that "minor has a history of physical
    altercations". Minor denied the allegation that he punched another minor and states 6/8/2021 1:37:45 PM                      yolanda.ochoa
    that "it was an accident". Assaulted minor taken to medical for treatment. A
    separate SIR will be completed for injured minor                 .
      Description of Incident: (Full    Minor was brought in by Tent Senior Lead after minor punched his tent peer. Senior Lead Zeus Chavira reports that "minor has a
        Description of Incident)        history of physical altercations". Minor denied the allegation that he punched another minor and states that "it was an accident".
                                        Assaulted minor taken to medical for treatment. A separate SIR will be completed for injured minor                  ).//
                                        ADDENDUM 6/8/2021 Clinician met with minor because he asked clinician if he could change back to Tent 8 as he was moved
                                        last night to Tent 3. Clinician asked minor the reason why he was changed tents and minor told clinician that he accidentally hit
                                        another minor first because he was pushed from behind. Minor described that he was walking by the other minor and the other
                                        minor told him “uno a uno” (one to one) in which minor reports that the other minor was looking to fight him. Minor then explains
                                        that someone from behind pushed him towards the other minor and he accidentally hit the minor on the neck when he was
                                        pushed. Then minor reports that this is when one of the tent leads arrived to find out what was happening, and he was changed
                                        tents. -YO
    Was the UAC or Anyone Else
                                            Yes    No                                 Specify:                                                     right upper cheek.
    Injured?:
                                                                               Actions Taken
                                                                    Staff Response and Intervention (History)

                                       Prior Text                                            Date Updated                                     Submitted By
    Clinician spoke with minor about incident and elevated to Lead Clinician
    Guadalupe Madrid. LMHC contacted APD Leticia Morales and the following
    recommendations were in place: Minor was recommended to change tents. Senior 6/8/2021 1:37:45 PM                             yolanda.ochoa
    Lead, Mr. Chavira assisted with process and contacted Project Manager-
    Servepro, Orlando to inform of tent transfer.
    Staff Response and Intervention Clinician spoke with minor about incident and elevated to Lead Clinician Guadalupe Madrid. LMHC contacted APD Leticia
                                    Morales and the following recommendations were in place: Minor was recommended to change tents. Senior Lead, Mr. Chavira
                                    assisted with process and contacted Project Manager-Servepro, Orlando to inform of tent transfer.// ADDENDUM 6/8/2021
                                    Clinician informed minor that she was unable to change him back tents by as he was moved tents by other staff for a reason.
                                    Discussed with minor coping skills to calm himself down as well as ways to avoid future physical altercations with other minors.
                                    Reminded minor the rules of the shelter. -YO
                                                                      Follow-up and/or Resolution (History)

                                          Prior Text                                           Date Updated                                   Submitted By
    Minor was transferred from tent #8 to tent #3 to prevent further altercation and
    minor was in agreement with move after speaking with clinician and LMHC. Risk
    Assessment conducted. This minor is calm, no anger towards the other minor. No 6/8/2021 1:37:45 PM                           yolanda.ochoa
    trigger identified as minor denied the event. Will report to morning Lead Clinician
    for follow up.
      Follow-up and/or Resolution:      Minor was transferred from tent #8 to tent #3 to prevent further altercation and minor was in agreement with move after speaking
                                        with clinician and LMHC. Risk Assessment conducted. This minor is calm, no anger towards the other minor. No trigger
                                        identified as minor denied the event. Will report to morning Lead Clinician for follow up.// ADDENDUM 6/8/2021 Minor will
                                        return to mental health services as needed. -YO
                                                                          Recommendations (History)

                                      Prior Text                                                   Date Updated                               Submitted By
    Transfer of tents completed. APD notified. Senior Leads notified and in agreement.
                                                                                       6/8/2021 1:37:45 PM                       yolanda.ochoa
    Minor in agreement. Minors no longer together in same tent.
           Recommendations:             Transfer of tents completed. APD notified. Senior Leads notified and in agreement. Minor in agreement. Minors no longer
                                        together in same tent.// ADDENDUM 6/8/2021 Minor will proceed with clinician and case management services while in ORR
                                        care. -YO
                                                                                  Reporting:

                                                                                Date of
    Reported To State Licensing:           Yes     No                                                                             Time of Report:
                                                                                Report:
                                                            Date Notified the
                                                                                                                        Case/Confirmation
    Was the Incident Investigated?         Yes     No       Incident will be
                                                                                                                        Number:
                                                            investigated:
   Explain
                                                                       Progress of Investigation (History)

                                                                   Results/Findings of Investigation (History):

   Results/Findings of
   Investigation:
    Attach Reports/Findings:
                                                                                                                                                 DOOR_NMM_0004
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                                  #:44418




                         Division of Immigration Services
                    Unidos por un Sueño/ United for one Dream
                              Clinical Progress Note

     UAC’s Name:
     DOB:
     UC #:
     Date of Admission: 6/09/2021
     Date: 6/11/2021

     This writer met with the minor on the above referenced date. Due to the Covid-19
     quarantine restrictions, the initial clinical assessments were completed telephonically.
     The minor stated that in his home country he was living with his mother, his stepfather,
     his two sisters, and his great grandmother. The minor shared he left Honduras around
                 for a better future to be able to study, and be able to one day work.




          The minor shared he last attended school in 2019 when he graduated the ninth grade.
     The minor then began to work as a fisherman with his stepfather. Based on how the
     minor answered the questions, there are no sex or labor trafficking concerns. The minor
     denied any gang or cartel involvement; illicit drug and/or alcohol use; and problems with
     authorities. The minor denied any abuse or extortion during the journey or in his country.
     The minor stated he voluntarily surrendered to U.S. Border Patrol where he spent three
     days. The minor was then transferred to Ft. Bliss where he spent 42 days and was later
     transferred to the Unidos Por Un Sueno Program at the Children’s Village on 06/09/2021.
     During the initial clinical assessment, the minor was oriented to all spheres and his affect
     was reactive and mood congruent. The minor denies presently or ever experiencing any
     suicidal ideations or desire to self-harm. The minor denies ever experiencing any
     homicidal ideations, auditory or visual hallucinations. Thus far the minor has acclimated
     well to the program; he is eating and sleeping well. The minor has been able to follow the
     program’s rules with no difficulties and reports that he feels safe here. The minor did not
     report any concerns indicative of a mental health condition.




     .
     Signature: ________________________________________ Title: Bilingual Clinician

     Electronically signed by Catherine Medina on 6/11/2021 4:22:18 PM

                                                                                    DOOR_NMM_0005
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                                  #:44419




                         Division of Immigration Services
                    Unidos por un Sueño/ United for one Dream
                              Clinical Progress Note

     UAC’s Name:
     DOB:
     UC #:
     Date of Admission: 6/09/2021
     Date: 6/17/2021

              This writer met with the minor on the above-referenced date. The minor
     presented with pleasant affect and clinically stable. Clinician assessed the minor’s
     emotional well-being and the minor reports eating and sleeping well. The minor
     continues to report feeling safe and comfortable in our facility. Clinician engaged the
     minor in an activity during which the minor had to answer questions about himself as a
     way to get to know him and establish rapport. The minor engaged and enjoyed the
     activity. Clinician also assessed the minor’s understanding of the program’s rules and
     expectations and discussed the significance of them with him. The minor expressed
     understanding the importance of following the rules and routines of the program.
     Clinician also assessed the minor’s understanding of his reunification case and the minor
     understands he now has a new sponsor. Clinician assessed the relationship with his new
     sponsor and the minor reported she is his paternal aunt. A family phone session will be
     facilitated the week of June 28th. Thus far the minor has acclimated well to the program.
     There are no indications of mental health or behavioral concerns at the moment.




     .
     Signature: ________________________________________ Title: Bilingual Clinician




     Electronically signed by Catherine Medina on 6/17/2021 2:36:51 PM

                                                                                  DOOR_NMM_0006
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                                  #:44420




                            Division of Immigration Services
                       Unidos por un Sueño/ United for one Dream
                                 Clinical Progress Note


     UAC’s Name:
     DOB:
     A#:
     Date of Admission: 6/9/2021

     Date: 6/23/2021

     Clinician, Stephanie Rosado, provided clinical coverage for assigned clinician, Catherine
     Medina. Minor was cooperative, calm and engaged during session. He appeared alert and
     oriented x4 with normal affect and euthymic mood. His speech had normal
     rate/tone/volume. Minor denied experiencing any mental health concerns and appears to
     have acclimated well to the milieu. Minor is also engaging in age-appropriate behaviors
     with his peers and has been incident free since his admission to the program. Minor
     reported feeling safe in the cottage and supported by the milieu staff.

     Clinician conducted a temperature check and encouraged minor to share his name,
     country of origin and personal interests. A set of questions were typed in folded pieces of
     paper inside a basket. Minor was encouraged to pick one paper at a time and respond to
     the selected question. Minor appeared engaged with willingness to participate. The
     questions were geared towards minor’s goals, life purpose, role models, strengths, etc.
     Minor provided thoughtful answers and was engaged in the activity. Clinician supported
     minor in exploring his short-term and long-term goals. Minor expressed feeling hopeful
     to reunify with his aunt who resides in       . Minor expressed wanting to pursue his
     goals of becoming a professional soccer player. He stated that his mother and great
     grandmother have been his role models growing up and have taught him important life
     lessons. Clinician thanked minor for his participation and honesty in sharing about his life
     and personal goals. Minor expressed enjoying the activity. Clinician reminded minor of
     the ongoing supports in the milieu and encouraged him to ask for help, when needed. No
     concerns were noted throughout the session.




     Signature: _______________________________________ Title: Bilingual Clinician
                        Stephanie Rosado, LMSW




     Electronically signed by Stephanie Rosado, LMSW                              6/23/2021 12:07:03 PM
                                                                                    DOOR_NMM_0007
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                                                                OMB Control No: 0970-0554
                                    #:44421                     Expiration date: 03/31/2022



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provider or subsequent agreements agreed to by ORR and the care provider.

13. RESTRAINTS
The care provider must exhaust preventive, de-escalative and less restrictive techniques before it uses any type of restraint.
Should physical restraint be necessary for the safety of the minor or others, the care provider must use behavior intervention
techniques approved by ORR. All use of restraints must be justified and documented.




                                                                                   06/09/2021                914-693-0600

Signature - Authorized Representative of Care Provider                           Date                       Telephone Number


                                                                                  06/09/2021                 202-401-5709

 Signature - Official Representative                                             Date                       Telephone Number
 Office of Refugee Resettlement
 Administration for Children and Families
 U.S. Department of Health and Human Services




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                                    #:44423                     Expiration date: 03/31/2022



a. The care provider may provide information about the minor to the minor's educational program, medical, mental health,
dental and other service providers to the extent that the information is needed for the minor's education, recreation, social
development, medical, dental, or mental health treatment.
b. The care provider must give ORR and its designees, as directed by ORR, unrestricted free access to information about
the minor at all times.
c. All case file information maintained under grants or contracts with the Federal government are the property of the Federal
government and are fully accessible to ORR, or any of their duly authorized representatives, in accordance with applicable
federal law, regulations, OMB circulars, and ORR policies.

8. CONTACT WITH THE FAMILY
The care provider must permit the minor and the minor's family (as well as other individuals at ORR's discretion) to maintain
contact through direct visitation, telephone calls, mail, and gifts under the terms and conditions specified by applicable law,
regulations, and ORR policies.

9. SCHOOL PROGRAMS AND EXTRACURRICULAR ACTIVITIES
The care provider may authorize the minor to participate in routine school programs as well as social and extracurricular
activities that do not involve an unusual risk of injury to the minor unless otherwise specified by ORR.

10. REASON FOR PLACEMENT
An unaccompanied minor who meets the definition of an unaccompanied alien child, 6 U.S.C. 279(g)(2), and is in Federal
custody by reason of his or her immigration status.

11. TIME IN CARE
The care provider's care giving authority will terminate upon the minor's physical discharge from the care provider's custody.
The care provider will still have legal obligations for maintaining the minor's property if it is still in the care provider's custody
and case file as directed by ORR.

12. FINANCIAL
ORR agrees to provide financially for the care of said minor according to the financial agreement between ORR and care
provider or subsequent agreements agreed to by ORR and the care provider.

13. RESTRAINTS
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techniques approved by ORR. All use of restraints must be justified and documented.




                                                                                 05/04/2021                  914-693-0600

Signature - Authorized Representative of Care Provider                           Date                       Telephone Number


                                                                                  05/05/2021
                                                                                  05/04/2021                 202-401-5709

 Signature - Official Representative                                             Date                       Telephone Number
 Office of Refugee Resettlement
 Administration for Children and Families
 U.S. Department of Health and Human Services




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                                                                DOOR_MLM_0002
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Legal screening completed? Yes No
                                      #:44425
Date:                                   05/10/2021
Any possible legal relief                   Yes    No
identified?
Specify:

                                                                                           Mental Health

Provide a short summary of the UAC’s current functioning:
Date of Discharge 5/19/21
5/13/21-The clinician conducted a telephonic individual therapy session. During the clinical session, the clinician revisited the Child Abuse and Neglect form, CAN and provided psychoeducation on the
various forms of abuse that exist. The minor reported, she understood.
5/10/21-6 Day Case Review
The clinician conducted a telephonic individual therapy session. The minor maintained a cooperative attitude during the session. His mood and affect were congruent. The minor reported feeling
emotionally and mentally stable. There are no mental and behavioral health concerns at this time. He reported normal sleeping and eating patterns. The minor continues to acclimate well to the
program. The minor is receiving individual therapy sessions once a week. The modality used during the session was psychotherapy. In addressing SIR Event                   dated 4/24/21 (UAC got into
fistfight because of card games), it was clarified by the minor that he acted in self defense.
                                                                                     Psychological Evaluation
Date of
Evaluation:
Evaluator:
Axis I:
Axis II:
Axis III:
Axis IV:
Axis V:
Summary of Recommendations:


                                                                                             Trafficking
Who planned/organized your journey?
The minor reported he is here to reunify with his brother,                 who resides in the state of Arizona.
What were you told about the arrangements before the journey?
The minor reported he was told to take care of himself.
Did the arrangements change during the journey?
                                                                                                                                                                                              Yes No
If yes, how?
The minor denied any changes during journey.
Does your family owe money to anyone for the journey?
                                                                                                                                                                                              Yes No
If yes, how much?

Whom is the money owed?
The minor denied a debt for the journey.
Who is expected to pay?
N/A
What do you expect to happen if payment is not made?
N/A
Coercion Indicators
Did anyone threaten your or your family?
                                                                                                                                                                                              Yes No
If yes, who made the threats?
The minor denied any coercion on and before the journey.
Were you ever physically harmed?
                                                                                                                                                                                              Yes No
If yes, how?
N/A
Was anyone around you ever physically harmed?
                                                                                                                                                                                              Yes No
If yes, who?
N/A
Were you ever held against your will?
                                                                                                                                                                                              Yes No
If yes, where?
N/A
Did anything bad happen to anyone else in this situation or anyone else who tried to leave?
                                                                                                                                                              DOOR_MLM_0003                   Yes No
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           began using correct grammar and spelling in his native language.



   Mathematics                                                                       Initial       Final
   Demonstrates an understanding of mathematical concepts                               1            2
   Solves problems with precision and accuracy                                          1            2
   Solves problems in multiple ways and explains solutions                              1            2
   Comments: informal assessment indicates that the student is able to do basic math operations at grade
   level.
           improved in understanding basic mathematical concepts such as division and multiplication.



   English as a New Language                                                       Initial     Final
   Understands key words and phrases                                                  1          2
   Responds to simple questions in context                                            1          2
   Approximates correct pronunciation in English                                      1          2
   Comments:          indicated that he does not know any English.
           developed limited vocabulary in his new language such as pronouns and the alphabet.




   Academic and Personal Behaviors                                                   Initial        Final
   Manages time and consistently demonstrates effort independently to                   S             G
   achieve goals
   Works in an organized manner                                                        S             G
   Persists through challenges to complete a task by trying different strategies       S             G
   Asks for help when needed                                                           S             G
   Respects school rules and works well in the school community                        S             G
   Comments:           is shown to work in an organized manner.
           was very good at asking for help when needed.


   Personal and Social Development                                                   Initial        Final
   Gets along with others                                                               S             G
   Shows respect                                                                        S             G
   Carries out responsibility                                                           S             G
   Comments:           shows a lot respect towards others.
           is a young man who got along with his peers.




  Comments and Recommendations:

          is a student from Guatemala whose native language is Spanish. Per the information
  provided by           at the time of admission, he stated that he completed the 3rd grade in his native
  land.          will benefit from receiving academic instruction at grade level to help him become
  more proficient in all subject areas.         will participate in daily classes that includes history,
  science, ENL and math.

         was able to learn basic English and shows motivation to learn more of the second
  language.        was a pleasure to work with and is a motivated young man.



  Andres R. Susu

  Senior Transitional Educator
  NOTE: FINAL COMMENTS ARE IN BOLD.




  Revised 03/05/2021                                  `                                        05/17/2021

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                                    #:44427                     Expiration date: 03/31/2022



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Signature - Authorized Representative of Care Provider                           Date                       Telephone Number


                                                                                  05/28/2021                 202-401-5709

 Signature - Official Representative                                             Date                       Telephone Number
 Office of Refugee Resettlement
 Administration for Children and Families
 U.S. Department of Health and Human Services




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                      EXHIBIT 7
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                                    #:44430                     Expiration date: 03/31/2022



a. The care provider may provide information about the minor to the minor's educational program, medical, mental health,
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                                                                                 05/06/2021                 914-693-0600


Signature - Authorized Representative of Care Provider                           Date                       Telephone Number


                                                                                  05/06/2021                 202-401-5709

 Signature - Official Representative                                             Date                       Telephone Number
 Office of Refugee Resettlement
 Administration for Children and Families
 U.S. Department of Health and Human Services




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                                                               DOOR_KACG_0002
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Legal screening completed? Yes No
                                      #:44432
Date:
Any possible legal relief                   Yes    No
identified?
Specify:                                Minor reported that he did not meet with any attorney in prior facility. LSP the Door will conduct KYR meeting with the minor. Pending date.

                                                                                             Mental Health

Provide a short summary of the UAC’s current functioning:
6 day update- the minor is a transfer from Ft Bliss EIS, minor denies any mental or behavioral health concerns, the minor denies any substance and reports to be of faith. The minor is acclimating well
to the program and there are no concerns at the moment regarding him.
5/17/2021- Minor remain stable, there are no mental health concerns, there are no concerns regarding minors behavior as he continues to be appropriate within the milieu, no inhouse reports nor any
SIRS were merited or previously documented.
                                                                                       Psychological Evaluation
Date of
Evaluation:
Evaluator:
Axis I:
Axis II:
Axis III:
Axis IV:
Axis V:
Summary of Recommendations:

                                                                                               Trafficking
Who planned/organized your journey?
The minor traveled to the US in search of a new life, minor shared that in COO he was living with both parents                                                                . As per minor he is seeking
reunification with his uncle who lives in          . As per minor he did not travel with a foot guide or a coyote, the minor was actually in fact traveling on his own with a group of other migrants. The
minor denies any harm or adverse experiences while in transit.
What were you told about the arrangements before the journey?
minor denies
Did the arrangements change during the journey?
                                                                                                                                                                                                  Yes No
If yes, how?
minor denies
Does your family owe money to anyone for the journey?
                                                                                                                                                                                                  Yes No
If yes, how much?
0
Whom is the money owed?
no debt
Who is expected to pay?
no debt
What do you expect to happen if payment is not made?
no debt
Coercion Indicators
Did anyone threaten your or your family?
                                                                                                                                                                                                  Yes No
If yes, who made the threats?
There are no Coercive Indicators
Were you ever physically harmed?
                                                                                                                                                                                                  Yes No
If yes, how?
There are no Coercive Indicators
Was anyone around you ever physically harmed?
                                                                                                                                                                                                  Yes No
If yes, who?
There are no Coercive Indicators
Were you ever held against your will?
                                                                                                                                                                                                  Yes No
If yes, where?
There are no Coercive Indicators
Did anything bad happen to anyone else in this situation or anyone else who tried to leave?
                                                                                                                                                                                                  Yes No
                                                                                                                                                              DOOR_KACG_0003
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Additional sponsor information:       #:44433


 Sponsor Sponsored UACs:                                                  Name of UAC                           A Number                           Relationship                 Facility sponsored from




                                                                                         Mandatory TVPRA 2008

Based on the most recent trafficking screening, is the child a victim of a severe form of trafficking in persons? (Indicate ‘yes’ only if ORR has issued a trafficking eligibility letter for
UAC.)                                                                                                                                                                                            Yes No
Date eligibility letter issued:

Based on the most recent screening for disabilities, does the child have a disability as defined in section 3 of the Americans with Disabilities Act of 1990, 42 U.S.C. § 12102(1)?
                                                                                                                                                                                                 Yes No
If yes, specify disability:
Based on the most recent screening, has the child been a victim of physical or sexual abuse under circumstances that indicate that the child’s health or welfare has been significantly
harmed or threatened?                                                                                                                                                                            Yes No
If yes, provide a short summary:

Based on the sponsor risk assessment, does the sponsor clearly present a risk of abuse, maltreatment, exploitation, or trafficking to the UAC?
                                                                                                                                                                                                 Yes No
If yes, provide a short summary:
CM will update
                                                                                            Recommendations

Discharge:                           Yes    No
Sponsor:
Discharge w/ Post Release:           Yes    No
Date of PR referral:
Refer to Home Study                  Yes    No
Reason for HS referral:




                                                                                                 Care Plan

         Reunification:           CM; Denia Rodriguez completed CR with sponsor on 5/14/2021. Sponsor check with Sponsor Photo Id - ARI sent to PSC on 5-14-2021. Minor is doing well in program
                                  and reported being happy that his brother has been reunified with his paternal uncle yesterday 5/14/2021. 5-12-2021 CAT 2 -Sponsor / Paternal Uncle;
                                         residing in              . On 5-12-2021 CM,, Denia Rodriguez completed case file and reviewed documents. Completing necessary documents and preparing
                                  case to submit .
             Legal:               CM contacted Immigration Hotline on 5-12-2021. Case has not been filed with Immigration Court.
      Mental Health:              Minor is stable mentally and behaviorally. NO concerns.

                                                                                                Certification

Signature:

Date:
5/17/2021
Print Name:
Fanny Glassberg,
MS,MSW
Title:
Bilingual Clinician




                                                                                                                                                                 DOOR_KACG_0004
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                                                               DOOR_KACG_0005
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                    temporary waiver of background check requirements for Category 2 adult household members (HHM) and adult caregivers to expedite the release process
                                    of Category 2 eligible cases”. • Proof of ability to provide housing, food, education: The sponsor adequately demonstrated that he is able to support the
                                    minor financially. • Proof of address (Wells Fargo Bank Statement), Sponsor address was verified by with Smarty Street, Google Maps and Google Earth. •
                                    A completed FRA packet. Criminal For the Sponsor, (                                / Paternal Uncle): • An Internet Background Check was conducted on
                                    05/13/2021; results came back with no record. • National Sex Offender check conducted on 05/14/2021. • State Sex Offender check conducted on
Comments:
                                    05/14/2021. • Sponsor was FP on 05/06/2021. Pending FP results. • CA/N checks are not required for this case as this is a CAT 2B that does not require
                                    a home study and no additional concerns were identified. For the HHM and adult care giver: Background checks, fingerprints and CA/N checks are not
                                    required as per ORR field guidance #11, “Guidance provides a temporary waiver of background check requirements for Category 2 adult household
                                    members (HHM) and adult caregivers to expedite the release process of Category 2 eligible cases”. Birth Certificates: All birth certificates needed to prove
                                    the sponsor-UC relationship were received on 05/10/2021. Sponsor is confirmed to be the UC’s paternal uncle. Birth certificates received are: UC’s BC,
                                                                                             ternal grandparents BC. Prior Sponsorship:                             sponsored UC’s brother
                                                                                             who was discharged from Fort Bliss EIS on 05/11/2021 and reunited with sponsor on 05/13/2021.
                                    Sponsor was flagged in the UC portal on 05/17/2021. No prior address found. Sponsor address was flagged in the UC portal on 05/13/2021. Contact with
                                    primary caregiver in COO: Spoke with UC’s Father;                       on Monday 05/17/2021. CM was able to verify information provided by the UC and
                                    the sponsor. Sponsor resources: The following emergency contact information was provided to the sponsor: 911, ORR parent and sponsor hotline,
                                    information regarding health care and vaccinations, department of family and protective services in the state of Florida, and National Human Trafficking
                                    resource center. CM assisted the sponsor in identifying the following resources for the minor:




                                                                                  Care Plan: In the case that the sponsor is no longer able to care for the minor, he will be left in the care of the
                                    sponsor’s nephew;                                     who is also minor’s 1 cousin; who also resides in                  , as per sponsor closed to his house.
                                    Housing: Sponsor owns her own house with 2 bedrooms, 1 bathroom, 1 dining room, 1 living room and a huge backyard. According to the sponsor his
                                    house is very spacious. Minor will be provided with ORRNCC wallet card, flyer, and fraud warning upon being released. Medical: Initial Medical Exam was
                                    completed by prior facility. On 5/8/2021 minor was implanted with a PPD; results were read negative on 5/9/2021. COVID 19 Pamphlet will be provided
                                    to sponsor with recommendations. UC has received temperature checks on a daily basis, and it has never been reported that she has had a fever. No
                                    additional medical concerns have been noted in the Medical tab of the UC portal for UC                                                   male of 16y/o. Facility
                                    is recommending Straight Release for this minor.
                                    ____________________________________________________________________________________ Identification along with all supporting
                                    documentation and assessments have been completed and uploaded onto ucportal. Sponsor’s parents BC • Minor’s father BC Facility is recommending a
                                    Straight Release for this case.
Is Attorney Contacted?:                 Yes No                                                 Case Manager Recommendation:             Approve Straight Release
Case Manager Recommendation after
                                                                                                If Applicable, Cancellation Reason:
Home Study:
       Updated Date/Time:           5/17/2021 1:22 PM                                                        Updated User:               Denia Rodriguez
                                                                             Case Coordinator Recommendation
Case Coordinator Name:              Jennifer Gonzalez
                                    CC recommends that the minor is release with PRS along with a Safety Discharge Plan to his paternal uncle in                      . PRS are being requested
                                    as the minor was step up to Staff Secure due to concerns of possible gang activity. As per the program the minor denied the allegations and is currently
                                    stable. PRS can help provide the sponsor support should the minor begin to should concerns in the community. A search was conducted in the UAC portal
                                    and the sponsor or his address has not been used in a previous sponsorship however the sponsor did recently sponsored the minor's brother who minor
Comments:
                                    travelled with. Prior to release, CC recommends that the minor’s sponsor is made aware of the reason why the minor was step up to CV SS to support the
                                    minor should any issues arise once he is release into the community. CC encourages that a family session is held with both the sponsor and minor to discuss
                                    the importance of the minor attending school and his future court dates. That they are also reminded about the EOIR and ORR hotlines, and are encouraged
                                    to call if they have any questions or concerns after UC is released, or if they want to request assistance.
Recommendation:                     Approve with Post-Release Only Services                      Recommendation after Home Study:
Sponsorship Cancellation Recommendation Reason:
       Updated Date/Time:           5/17/2021 4:00 PM                                                        Updated User:               Jennifer Gonzalez
                                                                                         ORR Decision
Comments:                           case meets ORR requirements
ORR Decision:                       Approve with Post-Release Only Services                     Home Study Status:
ORR Decision after Home Study:
       Updated Date/Time:           5/17/2021 6:32 PM                                                        Updated User:              Kristopher Cantu
                                                                                    Program Release Dates
Release Approved Date:              5/17/2021                                                 Release Scheduled Date:                    5/19/2021
Release Approved by:                Kristopher Cantu
The Next Scheduled Court Appearance for This Juvenile is:
Date Sponsor was Notified that They Must Inform the Immigration Court Directly of any            4/12/2021
Further Change of Address:
Reason for Less Than 24 Hours Notice to ICE, if Applicable:




                                                                                                                                                        DOOR_KACG_0006
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The care provider's care giving authority will terminate upon the minor's physical discharge from the care provider's custody.
The care provider will still have legal obligations for maintaining the minor's property if it is still in the care provider's custody
and case file as directed by ORR.

12. FINANCIAL
ORR agrees to provide financially for the care of said minor according to the financial agreement between ORR and care
provider or subsequent agreements agreed to by ORR and the care provider.

13. RESTRAINTS
The care provider must exhaust preventive, de-escalative and less restrictive techniques before it uses any type of restraint.
Should physical restraint be necessary for the safety of the minor or others, the care provider must use behavior intervention
techniques approved by ORR. All use of restraints must be justified and documented.




Signature - Authorized Representative of Care Provider                           Date                       Telephone Number


                                                                                  05/25/2021                 202-401-5709

 Signature - Official Representative                                             Date                       Telephone Number
 Office of Refugee Resettlement
 Administration for Children and Families
 U.S. Department of Health and Human Services




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                                    #:44439                     Expiration date: 03/31/2022



a. The care provider may provide information about the minor to the minor's educational program, medical, mental health,
dental and other service providers to the extent that the information is needed for the minor's education, recreation, social
development, medical, dental, or mental health treatment.
b. The care provider must give ORR and its designees, as directed by ORR, unrestricted free access to information about
the minor at all times.
c. All case file information maintained under grants or contracts with the Federal government are the property of the Federal
government and are fully accessible to ORR, or any of their duly authorized representatives, in accordance with applicable
federal law, regulations, OMB circulars, and ORR policies.

8. CONTACT WITH THE FAMILY
The care provider must permit the minor and the minor's family (as well as other individuals at ORR's discretion) to maintain
contact through direct visitation, telephone calls, mail, and gifts under the terms and conditions specified by applicable law,
regulations, and ORR policies.

9. SCHOOL PROGRAMS AND EXTRACURRICULAR ACTIVITIES
The care provider may authorize the minor to participate in routine school programs as well as social and extracurricular
activities that do not involve an unusual risk of injury to the minor unless otherwise specified by ORR.

10. REASON FOR PLACEMENT
An unaccompanied minor who meets the definition of an unaccompanied alien child, 6 U.S.C. 279(g)(2), and is in Federal
custody by reason of his or her immigration status.

11. TIME IN CARE
The care provider's care giving authority will terminate upon the minor's physical discharge from the care provider's custody.
The care provider will still have legal obligations for maintaining the minor's property if it is still in the care provider's custody
and case file as directed by ORR.

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                                                                                  05/25/2021                 202-401-5709

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 Administration for Children and Families
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                                                                                         ADMINISTRATION FOR CHILDREN AND FAMILIES
                                                                                                           370 L'Enfant Promenade, S.W.
U.S. Department of Health and Human Services                                                                     Washington, D.C. 20447


                                                    Office of Refugee Resettlement
                                                     Division of Children's Services
                                     NOTICE OF PLACEMENT IN SECURE OR STAFF SECURE FACILITY

 Minor's Name                 Alien #:         Date of Birth      Country of Birth          Facility Name                 Facility Type

                                                                Honduras                    Ft. Bliss - EIS              Emergency Intake Sites



    This is to provide you NOTICE of the reasons for your placement in a secure or staff-secure facility. Your are in the care
    and custody of the Office of Refugee Resettlement/Division of Children's Services (ORR/DCS). ORR/DCS will not place
    a minor in a secure or staff-secure facility if there are less restrictive placement options available and appropriate.
    However, under certain conditions listed below, ORR/DCS may place minors in a secure or staff-secure facility.

    1. You are considered to be a flight risk.
    2. You have committed or threatened to commit a violent or malicious act toward yourself or other(s).
    3. You have been convicted of a crime as an adult.
    4. You have been adjudicated as a delinquent.
    5. You have engaged in serious, unacceptable disruptive behavior while in a licensed program.
    6. You are chargeable with a crime or delinquent offense.
    7. You are in criminal or delinquency proceedings.
    8. For your own safety.
    9. There is an emergency influx of minors into the United States and there are no alternative placement options at
       this time. ORR will place you in a shelter care facility as expeditiously as possible.

    If you have any questions or concerns regarding this placement, please discuss them with the facility case management
    staff and/or your attorney of record. Any minor who disagrees with the ORR/DCS decision may correspond directly with
    the ORR/ DCS Division Director. Additionally, the minor may seek judicial review in any United States District Court
    with jurisdiction and venue over the matter to challange the placement decision.



                                                                               05/25/2021
   __________________________________________                       _________________________
   ORR Director Signature                                             Date

   __________________________________________                       _________________________
   Facility Staff/Witness: Name/Signature/Position                    Date

   __________________________________________                       _________________________
   Minor's Signature/Name                                              Date

    CC: Minor
        ORR/DCS Facility File
        ORR/DCS Field Coordinator
        ORR/DCS


ORR/DCS Notice of Placement
Last Revised 2/1/05
                                                                                                                 DOOR_JAA_0002
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                                                                OMB Control No: 0970-0554
                                    #:44441                     Expiration date: 03/31/2022



a. The care provider may provide information about the minor to the minor's educational program, medical, mental health,
dental and other service providers to the extent that the information is needed for the minor's education, recreation, social
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                                                                                 05/06/2021                 914-693-0600


Signature - Authorized Representative of Care Provider                           Date                       Telephone Number


                                                                                  05/06/2021                 202-401-5709

 Signature - Official Representative                                             Date                       Telephone Number
 Office of Refugee Resettlement
 Administration for Children and Families
 U.S. Department of Health and Human Services




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